  Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.1 Page 1 of 25


                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

DEQUITA BURKS, Personal Representative
of the Estate of RODRIGUEZ BURKS, Deceased,

                  Plaintiff,                   Case No:
                                               Hon:
vs.

WARDEN CATHERINE S. BAUMAN;                                 COMPLAINT
DEPUTY WARDEN ROBERT WICKSTROM;                             AND JURY DEMAND
PRISON ADMINISTRATOR DEAN POTILLA;
CORRECTIONS OFFICER LEWIS EISEMAN;
CORRECTIONS OFFICER DONALD PEER;
CORRECTIONS OFFICER GREGORY EXELBY;
PRISON COUNSELOR KAREN PRUNICK;
SGT. GERALD MONTICELLO; CORRECTIONS
OFFICER TEDD CHRISTOFF; SUPERVISOR
THOMAS SALO; CORRECTIONS OFFICER
DALE KURTH; CORRECTIONS SGT. JOHN;
SGT. ZACHARY SORELLE; CORRECTIONS OFFICER
BLOUGH; CORRECTIONS OFFICER TERRY KLENITZ;
CORRECTIONS OFFICER CHARLES STRICKLAND;
CORRECTIONS OFFICER KULIK; CORRECTIONS
OFFICER PERRY; SGT. CORY; CORRECTIONS
OFFICER ORDIWAY and CORRECTIONS
OFFICER HEATHER BECKWITH,
Jointly and Severally, Individually and in their Official Capacities

                  Defendants.

GEOFFREY N. FIEGER (P30441)
GINA U. PUZZUOLI (P37992)
FIEGER LAW
Attorneys for Plaintiff
19390 W. Ten Mile Road
Southfield, MI 48075
(248) 355-5555
g.puzzuoli@fiegerlaw.com


{00551146.DOCX}
                                      1
  Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.2 Page 2 of 25



                         COMPLAINT AND JURY DEMAND

        NOW COMES Plaintiff, DEQUITA BURKS, Personal Representative of

the Estate of RODRIGUEZ BURKS, Deceased, by and through her attorneys,

FIEGER, FIEGER, KENNEY & HARRINGTON, P.C., and in support of this

Complaint states as follows:

                            PARTIES AND JURISDICTION

        1.        DEQUITA BURKS (hereinafter “Plaintiff”) at all times was and is a

citizen of the State of Michigan and a resident of this judicial district.

        2.        Plaintiff has been duly appointed Personal Representative of the

Estate of RODRIGUEZ BURKS, decedent.

        3.        Plaintiff is the mother of decedent RODRIGUEZ BURKS, an African

American male, who was incarcerated in the Alger Correctional Facility in Pine

Housing Unit, C Block, cell number 143.

        4.        The incident giving rise to this incident occurred in the Alger

Correctional Facility located an N6141 Industrial Park Drive, Pine Housing Unit, C

Block, cell number 143.

        5.        At the time of the incident herein complained of Defendant

CATHERINE S. BAUMAN (hereinafter “Bauman”) was employed as Warden of

the Alger Correctional Facility and as Warden direction facility operations at the

Alger Correctional Facility.

        6.        At the time of the incident herein complained of Defendant ROBERT

{00551146.DOCX}
                                            2
  Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.3 Page 3 of 25


WICKSTROM (hereinafter “Wickstrom”) was employed as the Deputy Warden of

the Alger Correctional Facility and as the Deputy Warden, directing facility

operations at the Alger Correctional Facility.

        7.        At the time of the incident herein complained of Defendant DEAN

POTILLA (hereinafter “Potilla”) was the Prison Administrator at the Alger

Correctional Facility.

        8.        At the time of the incident herein complained of Defendant LEWIS

EISEMAN (hereinafter “Eiseman”) was a Corrections Officer working in Unit C at

Alger Correctional Facility.

        9.        At the time of the incident herein complained of Defendant DONALD

PEER (hereinafter “Peer”) was a Corrections Officer working in Unit C at Alger

Correctional Facility.

        10.       At the time of the incident herein complained of Defendant

GREGORY EXELBY (hereinafter “Exelby”) was a Corrections Officer working in

Unit C at Alger Correctional Facility.

        11.       At the time of the incident herein complained of Defendant KAREN

PRUNICK (hereinafter “PRUNICK”) was the Counselor working in Unit C at

Alger Correctional Facility.

        12.       At the time of the incident herein complained of Defendant SGT.

GERALD MONTICELLO (hereinafter “MONTICELLO”) was a Sergeant

working in Unit C at Alger Correctional Facility and as a Prison Sergeant,


{00551146.DOCX}
                                            3
  Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.4 Page 4 of 25


directing facility operations for the Alger Correctional Facility.

        13.       At the time of the incident herein complained of Defendant TEDD

CHRISTOFF (hereinafter “Christoff”) was a Corrections Officer working in Unit

C at Alger Correctional Facility.

        14.       At the time of the incident herein complained of Defendant THOMAS

SALO (hereinafter “Salo”) was a Supervisor Corrections at Alger Correctional

Facility and as such directing facility operations at Alger Correctional Facility.

        15.       At the time of the incident herein complained of Defendant DALE

KURTH (hereinafter “Kurth”) was a Corrections Officer working in Unit C at

Alger Correctional Facility.

        16.       At the time of the incident herein complained of Defendant SGT.

JOHN (hereinafter “JOHN”) was a Sergeant working in Unit C at Alger

Correctional Facility and as a Prison Sergeant, directing facility operations for the

Alger Correctional Facility.

        17.       At the time of the incident herein complained of Defendant

ZACHARY SORELLE (hereinafter “Sorelle”) was a Prison Sergeant working in

Unit C at Alger Correctional Facility and as such directing facility operations at

Alger Correctional Facility.

        18.       At the time of the incident herein complained of Defendant BLOUGH

(hereinafter “Blough”) was a Corrections Officer working in Unit C at Alger

Correctional Facility.


{00551146.DOCX}
                                            4
  Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.5 Page 5 of 25


        19.       At the time of the incident herein complained of Defendant TERRY

KLENITZ (hereinafter “Klenitz”) was a Lieutenant working in the Control Center

at Alger Correctional Facility and as such supervising and directing facility

operations at Alger Correctional Facility.

        20.       At the time of the incident herein complained of Defendant

CHARLES STRICKLAND (hereinafter “Strickland”) was a Corrections Officer

working in Unit C at Alger Correctional Facility.

        21.       At the time of the incident herein complained of Defendant KULIK

(hereinafter “Kulik”) was a Corrections Officer working in Unit C at Alger

Correctional Facility.

        22.       At the time of the incident herein complained of Defendant PERRY

(hereinafter “Perry”) was a Corrections Officer working in Unit C at Alger

Correctional Facility.

        23.       At the time of the incident herein complained of Defendant CORY

(hereinafter “Cory”) was a Sergeant working in Unit C at Alger Correctional

Facility and as such directing facility operations at Alger Correctional Facility.

        24.       At the time of the incident herein complained of Defendant

ORDIWAY (hereinafter “Ordiway”) was a Corrections Officer working in Unit C

at Alger Correctional Facility.

        25.       At the time of the incident herein complained of Defendant

HEATHER BECKWITH (hereinafter “BECKWITH”) was a Corrections Officer


{00551146.DOCX}
                                             5
  Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.6 Page 6 of 25


working in Unit C at Alger Correctional Facility.

        26.       That upon information and belief all of the individual Defendants

reside in counties within the boundaries of the Western District of Michigan.

        27.       This action is brought pursuant to the Constitution of the United

States and 42 U.S.C. § 1981, 1983 and 1985 and this Court has jurisdiction over

Plaintiff’s claim under 28 U.S.C. § 1331.

        28.       That venue is proper in the Western District of Michigan pursuant to

28 U.S.C. § 1391.

        29.       That Plaintiff brings this suit against each and every Defendant in

both their individual and official capacities.

        30.       That each and every act of Defendants, as set forth herein, were done

by those Defendants under the color and pretense of the statutes, ordinances,

regulations, laws, customs, and usages of the State of Michigan, and by virtue of,

and under the authority of, each individual Defendant’s employment with the State

of Michigan.

        31.       That the amount in controversy exceeds Seventy-Five Thousand

Dollars ($75,000) exclusive of costs, interest and attorney fees.

                               FACTUAL ALLEGATIONS

        32.       Plaintiff hereby restates, re-alleges, and incorporates each and every

allegation contained in paragraphs above as though fully set forth herein.




{00551146.DOCX}
                                              6
  Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.7 Page 7 of 25


        33.       The decedent, Rodriguez Burks, a 23 year old, was incarcerated in the

Alger Correctional Facility on December 2, 2016 as a result of a plea to felony

offenses of fleeing a police officer in the third degree and receiving and concealing

stolen property.

        34.       That the decedent, Rodriguez Burks, upon entry to the Alger

Correctional Facility, was classified as a security level of IV.

        35.       During the decedent RODRIGUEZ BURKS incarceration it became

known to each and every one of the Defendants and the inmates that decedent

RODRIGUEZ BURKS was a homosexual.

        36.       While decedent was incarcerated at Alger Correctional Facility, an

inmate by the name of DeShawn Madden (hereinafter referred to as “Madden”,

convicted of carjacking; assault with intent to commit murder and armed robbery,

who was classified as a security level V, was transferred from the Marquette

Correctional Facility to Alger Correctional Facility as an “emergency ride.” An

“emergency ride” occurs when a facility needs more space and they move inmates

on days other than on the normal move days. This transfer occurred on Tuesday,

July 18, 2017.

        37.       At this time it was known by each and every one of the Defendants

that Madden was homophobic.

        38.       Although knowing that decedent RODRIGUEZ BURKS was

homosexual, and that the newly transferred inmate was homophobic, each and


{00551146.DOCX}
                                             7
  Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.8 Page 8 of 25


every one of the Defendants made a conscious collective decision to house

Madden with the decedent in the same cell.

        39.        The same day that Madden was housed with decedent RODRIGUEZ

BURKS,            Madden repeatedly told the Defendant Corrections Officers named

herein and the prison counselor, Defendant KAREN PURNICK that “If you don’t

move me out of this cell, I’m gonna hurt this guy.” However each of the

Defendants named herein ignored the threats and simply left Madden and the

decedent RODRIGUEZ BURKS, in the same cell knowing that harm would result

to decedent RODRIGUEZ BURKS.

        40.        Both Madden and decedent RODRIGUEZ BURKS separately also

repeatedly told Defendant PRUNICK that they needed to be moved away from

each other for safety reasons but Defendant PRUNICK ignored the requests and

stated “ This is not the Holiday Inn. You don’t get it your way!”

        41.        Madden also wrote Defendant Prunick a kite on the morning before

the incident discussing getting out of the cell he was in with decedent

RODRIGUEZ BURKS, but Defendant Prunick, although having a conversation

with Madden who advised her it was all in the kite, simply ignored the kite.

        42.        At morning count on July 20, 2017, decedent RODRIGUEZ BURKS

again asked the Defendant Corrections Officers to move him to no avail as they

refused all the while knowing that certain harm would befall decedent

RODRIGUEZ BURKS, if he was not moved.


{00551146.DOCX}
                                            8
  Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.9 Page 9 of 25


        43.       That because Defendants, failed to move decedent RODRIGUEZ

BURKS from the cell, after morning count, Madden violently and brutally beat,

tortured and killed decedent RODRIGUEZ BURKS in their cell.

        44.       That decedent, RODRIGUEZ BURKS, suffered 8 lacerations to the

left and right eyelids and the left and right eyebrows. The pathologic Diagnosis

was Closed Head Injury, with Subarachnoid Hemorrhage and Cerebral Cortical

Contusions and Traumatic Injuries to Bilateral Supraorbital Facial Area.

        45.       That although each and every Defendant was aware of the certain

threat to decedent RODRIGUEZ BURKS’ physical safety, none of them moved

him out of the cell, and none of them performed timely rounds and/or observations

of the inmates to check on physical safety.

        46.       When Defendant EISEMAN finally went to the decedent’s cell in the

afternoon, the decedent’s body was discovered, and Madden stated to Defendant

EISEMAN, “I told you guys to move me.”

        47.       The Decedent was found under a pile of blankets laying on his bunk

face down with blood covering his body and blankets. He had no pulse.

        48.       Finally Madden was taken out of the cell he had been in with the

decedent and taken to another unit where he was placed in a holding cage while

Corrections Officer Dylan Deal videotaped Madden who stated that “they should

have never locked me with queer, he will be lucky if he even has a pulse.”




{00551146.DOCX}
                                            9
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.10 Page 10 of 25


Madden also stated at that time “I asked them to move me and something had to be

done.”

        49.       Although Madden was charged with the killing of decedent

RODRIGUEZ BURKS, each and every Defendant, herein was the proximate cause

of the murder of RODRIGUEZ BURKS as they knew that Madden was going to

kill the decedent RODRIGUEZ BURKS even prior to putting him in that cell as he

had a lower classification and was homosexual, further each and every Defendant

had knowledge that RODRIGUEZ BURKS would be killed when they put him in

that cell; when RODRIGUEZ BURKS made pleas to Defendants to be moved; and

when Madden specifically told them that he was going to hurt RODRIGUEZ

BURKS if he was not moved out of the cell.

        50.       For at least 72 hours before the death of decedent RODRIGUEZ

BURKS all Defendants knew or should have known of the violent and dangerous

propensities of Madden and disregarded that risk to decedent RODRIGUEZ

BURKS.

        51.       Each and every Defendant knew that Madden was a safety risk to

RODRIGUEZ BURKS being a lower security classification and/or homosexual

being housed in the same cell as a homophobic prisoner who threatened harm if he

was not moved out of the cell.

        52.       That although being aware of the risk to RODRIGUEZ BURKS’

safety, none of the Defendants took any action to move the threat of the risk by


{00551146.DOCX}
                                          10
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.11 Page 11 of 25


separating the decedent and Madden as requested by both decedent RODRIGUEZ

BURKS and Madden; by monitoring the interactions of the two inmates; by

performing routine and timely cell checks after Madden had threatened to harm

him; and by failing to protect decedent RODRIGUEZ BURKS.

        53.       That the Defendants had a practice, policy and or procedure in effect

which failed to protect inmates of differing sexual orientations and instead inflicted

harm and failed to protect inmates, including Rodriguez Burks an such inmates.

        54.       Additionally, Defendant supervisors did not provide training to the

defendant corrections officers with respect to ensuring the safety of homosexual

inmates and/or moving inmates from cells when there are threats to the inmates’

safety and well being.

                                          COUNT I

         DEFENDANTS INDIVIDUAL LIABILITY-DELIBERATE
     INDIFFERENCE TO THE SAFETY OF DECEDENT, FAILURE TO
         PROTECT AND CRUEL AND UNUSUAL PUNISHMENT

        55.         Plaintiff hereby restates, re-alleges, and incorporates each and

every allegation contained in paragraphs above as though fully set forth herein.

        56.         42 U.S.C. §1983 provides in relevant part:

                  Every person, who, under color of any statute, ordinance,
                  regulation, custom or usage, of any State subjects or causes to
                  be subjected, any citizen of the United States to the deprivation
                  of any rights, privileges, or immunities secured by the
                  Constitution and laws, shall be liable to the party injured in an
                  action at law, suit in equity, or other proper proceeding for
                  redress.

        57.       The Eighth Amendment to the United States Constitution prohibits
{00551146.DOCX}
                                              11
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.12 Page 12 of 25


cruel and unusual punishment and obliges prison authorities to provide protection

to an inmate when there is a substantial risk of harm to that inmate.

        58.       Defendants WARDEN CATHERINE S. BAUMAN, DEPUTY

WARDEN ROBERT WICKSTROM, PRISON ADMINISTRATOR DEAN

POTILLA,          SGT.   GERALD      MONTICELLO,       SUPERVISOR       ZACHARY

SORRELLE, SUPERVISOR THOMAS SALO, CORRECTIONS SGT. JOHN,

SGT. PERRY and PRISON COUNSELOR KAREN PURNICK knew or should

have known of Madden’s propensity to seriously injure and/or kill decedent

RODGRIGUEZ BURKS and failed to protect him from harm.

        59.       Defendants WARDEN CATHERINE S. BAUMAN, DEPUTY

WARDEN ROBERT WICKSTROM, PRISON ADMINISTRATOR DEAN

POTILLA,          SGT.   GERALD      MONTICELLO,       SUPERVISOR       ZACHARY

SORRELLE, SUPERVISOR THOMAS SALO, CORRECTIONS SGT. JOHN,

SGT. PERRY and PRISON COUNSELOR KAREN PURNICK knew of the

dangerous and violent propensities of Madden and disregarded the risks to

decedent RODRIGUEZ BURKS, a known homosexual by assigning and allowing

decedent to be placed in the cell with Madden, who had a higher security

classification and was a known homophobic.

        60.       Defendants’ actions in assigning and placing decedent RODRIGUEZ

BURKS in the cell with Madden constituted a reckless disregard of the risk of

harm sufficient to show deliberate indifference amounting to a violation of the


{00551146.DOCX}
                                          12
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.13 Page 13 of 25


decedent’s civil rights.

        61.       Furthermore, the above named defendants had knowledge that harm

would in fact occur to decedent RODRIGUEZ BURKS as both he and Madden,

specifically told the Defendant officers and others.

        62.       Additionally, the decedent RODRIGUEZ BURKS and Madden

specifically informed DEFENDANT PURNICK that the decedent’s life was in

danger while being housed with Madden and that they needed to be moved, and

DEFENDANT PURNICK’S response that “This is not the Holiday Inn. You don’t

get it your way!” which establishes the callous and deliberately indifferent attitude

to the pleas to be moved, to African American inmates and to homosexuals.

        63.       That the aforementioned actions constituted a deliberate indifference

towards decedent’s well-being contravening his Eighth Amendment rights as

secured by the Fourteenth Amendment to the United States Constitution and by 42

U.S.C. §1983 in that Defendants were deliberately indifferent by ignoring and

disregarding obvious signs that decedent would be seriously harmed and killed by

his cell mate, and even after the defendants, were repeated told Madden that would

harm the decedent, RODRIGUEZ BURKS.

        64.        Defendants,   EISEMAN,        PEER,   EXELBY,      MONTICELLO,

CHRISTOFF, SALO, KURTH, JOHN, SORELLE, BOUGH, PURNICK,

KLENITZ, STRICKLAND, KULIK, PERRY, CORY ORDIWAY AND

BECKWITH, were all informed and/or had knowledge of Madden’s higher


{00551146.DOCX}
                                            13
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.14 Page 14 of 25


security classification and propensity for violence toward homosexuals and of

RODRIGUEZ BURKS, being a homosexual, and disregarded the certainty of

serious harm and/or death that would befall RODRIGUEZ BURKS.

        65.       That both Madden and RODRIGUEZ BURKS specifically told the

defendants identified in paragraph 64, that they needed to be moved and repeatedly

pled to be moved within the 72 hours prior to the assault and murder of

RODRIGUEZ BURKS. Madden in fact repeatedly stated, “If you don’t move me

out of this cell, I’m gonna hurt this guy.” However each of the Defendants named

herein ignored the threats and simply left decedent RODRIGUEZ BURKS in the

cell with Madden without any protection, failing to transfer either inmate out of the

cell; failing to conduct timely rounds of the cells to check on the inmates knowing

there were specific threats of harm to decedent RODRIGUEZ BURKS; and failing

to timely respond to the assault and murder of RODRIGUEZ BURKS.

        66.       Defendants’ actions and inactions constitute a deliberate indifference

to decedent’s right to remain safe while incarcerated in violation of the Eighth

Amendment.

        67.       Each of the Defendants’ actions constitutes cruel and unusual

punishment under the Eighth Amendment.

        68.       Defendants’ actions and inactions were the proximate cause of

Rodriguez Burks’ brutal and violent death.




{00551146.DOCX}
                                             14
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.15 Page 15 of 25


        69.       None of the Defendants are entitled to qualified immunity as their

actions were not objectively reasonable and the law was clearly established at the

time of this incident.

        70.       That the above described conduct of the Defendants, as specifically

set forth above, was the proximate cause of Plaintiff’s Decedent’s death and other

injuries and damages to him and his Estate, including but not limited to the

following:

                  a.    Death;

                  b.    Reasonable medical, hospital, funeral and burial expenses;

                  c.    Conscious pain and suffering, physical and emotional;

                  d.    Humiliation and / or mortification;

                  e.    Mental anguish;

                  f.    Economic damages;

                  g.    Loss of love, society, and companionship;

                  h.    Loss of gifts, gratuities, and other items of economic value;

                  i.    Parental guidance, training, and support;

                  j.    Exemplary, compensatory, and punitive damages allowed under
                        Michigan and federal law;

                  k.    Attorney fees and costs pursuant to 42 USC § 1988;

                  l.    Any and all other damages otherwise recoverable under federal
                        law and the Michigan Wrongful Death Act, MCL 600.2922, et
                        seq.

        WHEREFORE, Plaintiff respectfully requests this Honorable Court to enter

judgment in his favor and against Defendants, jointly and severally, and award an

{00551146.DOCX}
                                             15
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.16 Page 16 of 25


amount in excess of Seventy Five Thousand ($75,000.00) Dollars exclusive of

costs, interest, attorney fees, as well as punitive and exemplary damages.

                                         COUNT II

       DEFENDANTS LIABILITY IN THEIR OFFICIAL CAPACITIES

        71.       Plaintiff hereby restates, re-alleges, and incorporates each and every

allegation contained in paragraphs above as though fully set forth herein.

        72.       That each and every individual Defendant identified herein had

knowledge of each and every factual allegation set forth above, prior to the death

of the Plaintiff.

        73.       That in the alternative, if any individual Defendant claims that he/she

did not have knowledge of each and every factual allegation set forth above, that

individual Defendant should have known of each and every factual allegation.

        74.       Defendants and each of them had deficient policies, practices,

procedures, training and supervision with respect to protecting an inmate from

serious harm and from murder by another inmate; with respect to protecting

inmates who are homosexual; and with respect to African American inmates.

        75.       Defendants knew about the risk of harm to homosexual inmates such

as decedent RODRIGUEZ BURKS and of the risk of harm of placing different

security level inmates in the same cells and did not have a policy to identify

homophobic prisoners and to keep them separate and safe.

        76.       Defendants knew that homosexual inmates were at risk for serious

harm throughout Alger Correctional Facility and the prison system and had no
{00551146.DOCX}
                                             16
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.17 Page 17 of 25


procedures and training in place relating to the same intentionally disregarding the

risk of harm to inmates by failing to adopt reasonable policies to protect

homosexual inmates.

          77.     Defendants further had no policies, procedures and training with

respect to identifying inmates who need protection and what actions to take if an

inmate is in need of protection in order to protect that inmates’ constitutional

rights.

          78.     That lack of such policies, procedures and training was the proximate

cause of the serious harm and death that occurred to decedent RODRIGUEZ

BURKS.

          79.     That the above described conduct of the Defendants, as specifically

set forth above, was the proximate cause of Plaintiff’s Decedent’s death and other

injuries and damages to him and his Estate, including but not limited to the

following:

                  a.    Death;

                  b.    Reasonable medical, hospital, funeral and burial expenses;

                  c.    Conscious pain and suffering, physical and emotional;

                  d.    Humiliation and / or mortification;

                  e.    Mental anguish;

                  f.    Economic damages;

                  g.    Loss of love, society, and companionship;

                  h.    Loss of gifts, gratuities, and other items of economic value;


{00551146.DOCX}
                                             17
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.18 Page 18 of 25


                  i.    Parental guidance, training, and support;

                  j.    Exemplary, compensatory, and punitive damages allowed under
                        Michigan and federal law;

                  k.    Attorney fees and costs pursuant to 42 USC § 1988;

                  l.    Any and all other damages otherwise recoverable under federal
                        law and the Michigan Wrongful Death Act, MCL 600.2922, et
                        seq.

        WHEREFORE, Plaintiff respectfully requests this Honorable Court to enter

judgment in his favor and against Defendants, jointly and severally, and award an

amount in excess of Seventy Five Thousand ($75,000.00) Dollars exclusive of

costs, interest, attorney fees, as well as punitive and exemplary damages.

                                         COUNT III
                       RACIAL DISCRIMINATION - 42 USC §1981
        80.       Plaintiff hereby restates, re-alleges, and incorporates each and every

allegation contained in paragraphs above as though fully set forth herein.

        81.       42 USC §1981 provides in pertinent part:

                  “All persons within the jurisdiction of the United States shall have the
                  same right in every State to…and to the full and equal benefit of all
                  laws and proceedings for the security of persons and property as is
                  enjoyed by white citizens, and shall be subject to like punishment,
                  pains, penalties…”

        82.       The decedent RODRIGUEZ BURKS was a 23 year old homosexual

African American male, whom because of his race was placed in a cell with inmate

Madden, a homophobic, who had a higher security classification than the decedent,

and an obvious threat to the decedent.


{00551146.DOCX}
                                              18
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.19 Page 19 of 25


        83.       That each and every Defendant racially discriminated against the

decedent RODRIGUEZ BURKS and violated his right to equal protection of the

laws when based on his race, they placed him in a cell with inmate Madden, a

homophobic, who had a higher security classification than the decedent, and who

was an obvious threat to the decedent.

        84.       That the above described conduct of the Defendants, as specifically

set forth above, was the proximate cause of Plaintiff’s Decedent’s death and other

injuries and damages to him and his Estate, including but not limited to the

following:

                  a.    Death;

                  b.    Reasonable medical, hospital, funeral and burial expenses;

                  c.    Conscious pain and suffering, physical and emotional;

                  d.    Humiliation and / or mortification;

                  e.    Mental anguish;

                  f.    Economic damages;

                  g.    Loss of love, society, and companionship;

                  h.    Loss of gifts, gratuities, and other items of economic value;

                  i.    Parental guidance, training, and support;

                  j.    Exemplary, compensatory, and punitive damages allowed under
                        Michigan and federal law;

                  k.    Attorney fees and costs pursuant to 42 USC § 1988;

                  l.    Any and all other damages otherwise recoverable under federal
                        law and the Michigan Wrongful Death Act, MCL 600.2922, et
                        seq.

{00551146.DOCX}
                                             19
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.20 Page 20 of 25



        WHEREFORE, Plaintiff respectfully requests this Honorable Court to enter

judgment in his favor and against Defendants, jointly and severally, and award an

amount in excess of Seventy Five Thousand ($75,000.00) Dollars exclusive of

costs, interest, attorney fees, as well as punitive and exemplary damages.

                                         COUNT IV

                       GROSS NEGLIGENCE OF ALL DEFENDANTS

        85.       Plaintiff hereby restates, re-alleges, and incorporates each and every

allegation contained in paragraphs above as though fully set forth herein.

        86.       Defendants undertook a duty to decedent RODRIGUEZ BURKS

while he was housed in their care and custody.

        87.       Defendants breached their duties to decedent RODRIGUEZ BURKS

by failing to reassign, move, and transfer him from the cell after being informed by

both RODRIGUEZ BURKS and Madden that he was going to harm RODRIGUEZ

BURKS and that he needed to be moved.

        88.       In    addition,   Defendants    breached   their   duties   to   decedent

RODRIGUEZ BURKS in the following particulars:

        a.        Failing to inquire into, including reviewing all related
                  documentation, Madden’s background, including his history
                  and recent events at the facility, when evaluating, assessing him
                  and placing Madden in a cell with decedent RODRIGUEZ
                  BURKS.

        b.        Failing to timely and continuously observe, watch, monitor,
                  and/or check on to ensure the safety of RODRIGUEZ BURKS
                  especially while knowing about the threats of inmate Madden to
                  RODRIGUEZ BURKS’ safety;
{00551146.DOCX}
                                                 20
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.21 Page 21 of 25



        c.        Failing to advise, warn, and instruct other individuals having
                  caregiving, supervisory, or custodial responsibilities over
                  RODRIGUEZ BURKS about the threats and background
                  information of the inmates, and advising that the inmates
                  should be closely and continuously monitored;

        d.        Failing to advise, warn, and instruct other individuals having
                  caregiving, supervisory, or custodial responsibilities of the
                  threat to decedent RODRIGUEZ BURKS;

        e.        Failing to promulgate, implement, and enforce policies and
                  procedures ensuring open and effective communication of an inmate's
                  history, significant events, and homicidal risks, to subsequent shifts
                  and other services within the jail;

        f.        Failing to properly train and supervise the individuals within the
                  aforementioned facility having custodial and/or caregiving
                  responsibilities over decedent RODRIGUEZ BURKS to ensure that
                  he was adequately guarded against;

        g.        Failing to properly train and supervise the individuals within the
                  aforementioned facility having custodial and/or caregiving
                  responsibilities over decedent RODRIGUEZ BURKS to ensure that
                  he was timely checked and properly tended to, including
                  training/supervision in the following particulars:

                   i.    how to assess and determine if an inmate’s safety is
                         at risk and if an inmate is in need ;

                  ii.    how to supervise and monitor an inmate determined
                         to be a threat of harm to other inmates;

        89.       That the above described actions and/or inactions violated MCLA

691.1407 in that they amounted to gross negligence, specifically conduct so

reckless as to demonstrate a substantial disregard for whether an injury resulted.




{00551146.DOCX}
                                             21
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.22 Page 22 of 25


        90.       That as the direct and proximate result of the aforementioned conduct

and omissions of Defendants, Plaintiff's decedent and the legal heirs of the estate

thereof, suffered the injuries and damages as set forth above.

        91.       That the above described conduct of the Defendants, as specifically

set forth above, was the proximate cause of Plaintiff’s Decedent’s death and other

injuries and damages to his Estate, including but not limited to the following:

                  a.    Death;

                  b.    Reasonable medical, hospital, funeral and burial expenses;

                  c.    Conscious pain and suffering, physical and emotional;

                  d.    Humiliation and / or mortification;

                  e.    Mental anguish;

                  f.    Economic damages;

                  g.    Loss of love, society, and companionship;

                  h.    Loss of gifts, gratuities, and other items of economic value;

                  i.    Parental guidance, training, and support;

                  j.    Exemplary, compensatory, and punitive damages allowed under
                        Michigan and federal law;

                  k.    Attorney fees and costs pursuant to 42 USC § 1988;

                  l.    Any and all other damages otherwise recoverable under federal
                        law and the Michigan Wrongful Death Act, MCL 600.2922, et
                        seq.

        WHEREFORE, Plaintiff respectfully requests this Honorable Court to enter

judgment in her favor and against Defendants, jointly and severally, and award an

{00551146.DOCX}
                                             22
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.23 Page 23 of 25


amount in excess of Seventy Five Thousand ($75,000.00) Dollars exclusive of

costs, interest, attorney fees, as well as punitive and exemplary damages.



                                       Respectfully submitted,
                                       FIEGER LAW

                                       /s/ Gina U. Puzzuoli
                                       GEOFFREY N. FIEGER (P30441)
                                       GINA U. PUZZUOLI (P37992)
                                       Attorneys for Plaintiff
                                       19390 W. Ten Mile Road
                                       Southfield, MI 48075
Dated: May 25, 2018                     (248) 355-5555
                                       g.puzzuoli@fiegerlaw.com




{00551146.DOCX}
                                         23
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.24 Page 24 of 25


                   UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

DEQUITA BURKS, Personal Representative
of the Estate of RODRIGUEZ BURKS, Deceased,

                  Plaintiff,                   Case No:
                                               Hon:
vs.

WARDEN CATHERINE S. BAUMAN;                                       JURY DEMAND
DEPUTY WARDEN ROBERT WICKSTROM;
PRISON ADMINISTRATOR DEAN POTILLA;
CORRECTIONS OFFICER LEWIS EISEMAN;
CORRECTIONS OFFICER DONALD PEER;
CORRECTIONS OFFICER GREGORY EXELBY;
PRISON COUNSELOR KAREN PRUNICK;
SGT. GERALD MONTICELLO; CORRECTIONS
OFFICER TEDD CHRISTOFF; SUPERVISOR
THOMAS SALO; CORRECTIONS OFFICER
DALE KURTH; CORRECTIONS SGT. JOHN;
SGT. ZACHARY SORELLE; CORRECTIONS OFFICER
BLOUGH; CORRECTIONS OFFICER TERRY KLENITZ;
CORRECTIONS OFFICER CHARLES STRICKLAND;
CORRECTIONS OFFICER KULIK; CORRECTIONS
OFFICER PERRY; SGT. CORY; CORRECTIONS
OFFICER ORDIWAY and CORRECTIONS
OFFICER HEATHER BECKWITH,
Jointly and Severally, Individually and in their Official Capacities

                  Defendants.

GEOFFREY N. FIEGER (P30441)
GINA U. PUZZUOLI (P37992)
FIEGER LAW
Attorneys for Plaintiff
19390 W. Ten Mile Road
Southfield, MI 48075
(248) 355-5555
g.puzzuoli@fiegerlaw.com
______________________________________________________________

{00551146.DOCX}
                                     24
 Case 2:18-cv-00075-GJQ-TPG ECF No. 1 filed 05/25/18 PageID.25 Page 25 of 25



                              DEMAND FOR JURY TRIAL

     NOW COMES Plaintiff DEQUITA BURKS Personal Representative of the

Estate of RODRIGUEZ BURKS, Deceased, by and through her attorneys,

FIEGER, FIEGER, KENNEY& HARRINGTON, P.C., and hereby demands trial

by jury on all issues so triable.

                                    Respectfully submitted,
                                    FIEGER LAW

                                    /s/ Gina U. Puzzuoli
                                    GEOFFREY N. FIEGER (P30441)
                                    GINA U. PUZZUOLI (P37992)
                                    Attorneys for Plaintiff
                                    19390 W. Ten Mile Road
                                    Southfield, MI 48075
Dated: May 25, 2018                  (248) 355-5555
                                    g.puzzuoli@fiegerlaw.com




{00551146.DOCX}
                                      25
